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                                                                                               Mar 23, 2021
                               UNITED STATES DISTRICT COURT                                     ANGELA E. NOBLE
                               SOUTHERN DISTRICT OF FLORIDA                                    CLERK U.S. DIST. CT.
                                                                                               S. D. OF FLA. - M IAMI
          21-80042,&§~ARRA/MATTH EWMAN
                                           26 u.s.c. § 7206(1)
                                           26 u.s.c. § 7203

   UNITED STATES OF AMERICA

   v.

   KASALI OBPABO LA JR.,


   _________________/
          Defendant.


                                            INDICTMENT

          The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

          At all times relevant to this Indictment:

                              Relevant Federal Income Tax Provisions

          I.     The Internal Revenue Service ("JRS") was an agency of the United States

   Department of Treasury responsible for enforcing and administering the tax laws of the United

   States of America and collecting taxes owed to the United States.

          2.     United States taxpayers were required to repo1i to the JRS the total income received

  in a tax year on line 22 of United States Individual Income tax Return, Form 1040 ("Individual

  Income Tax Return").

          3.     A taxpayer who operated his or her ovvn business was required to report the

  business' income and expenses to the JRS in the business' corporate tax return or report the

  business' income and expenses on Schedule C of an Individual Income Tax Return. A taxpayer

  who elects to file an Individual Income Tax Return Schedule C had an obligation to report to IRS

  on the Schedule C Form 1040 all "gross receipts or sales" from businesses the taxpayer operated
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   as sole proprietorships. These gross receipts or sales were required to be reported on Line 1 of the

   Schedule C.

                                               Defendant

           4.     FTP Tax Solutions, LLC ("FTP"), a tax return preparation business, was organized

   as a limited liability company in the State of Florida by Defendant KASALI OPABOLA, JR. on

   October 2, 2012. FTP's current principal place of business is 372 N. Congress Avenue, Boynton

   Beach, Florida and its mailing address is 7135 Via Abruzzi, Lake Worth, FL 33467.

           5.     Opaworld Network Inc. ("Opaworld") was incorporated as a not for profit

   corporation in the State of Florida by Defendant KASALI OPABOLA, JR., on June 16, 2014.

   Opaworld's principal place of business and its mailing address is 7135 Via Abruzzi, Lake Worth,

   FL 33467.

           6.     Defendant KASALI OPABOLA, JR. was a resident of Palm Beach County.

   According to the State of Florida Division of Corporate Records, from October 2, 2012, to at least

   until March 21, 2016, Defendant KASALI OPABOLA, JR. was a member of FTP. According

   to the State of Florida Division of Corporate Records, on March 21, 2016, Defendant KASALI

   OPAB OLA, JR. reported he was the sole member and Chief Executive Officer of FTP. According

   to the State of Florida Division of Corporate Records, Defendant KASAL! OPABO LA, JR. was

   the sole officer of Opaworld.

          7.      Defendant KASAL! OPABO LA, JR managed, supervised, directed, and operated

  FTP and Opaworld and held signature authority on the business bank accounts for FTP and

  Opaworld.

          8.     Defendant KASALI OPABO LA, JR. received income for services as the owner

  and operator of FTP and collected fees as a tax return preparer for clients. This income and these

  fees were then deposited into bank accounts held under the name FTP and Opaworld, over which

  Defendant KASALI OPABOLA, JR. held signatory authority.
                                                   2
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            9.      Defendant KASALI OPABOLA, JR. elected to report the income he earned from

   FTP on his Individual Income Tax Return, for tax years 2014 and 2015, as a Schedule C business.

                                           COUNTS 1 &2
                              Making and Subscribing a False Tax Return
                                          (26 u.s.c. § 7206(1))

            10.     The general allegations contained in paragraphs 1 through 9 are realleged and

   reincorporated as though fully set forth herein.

            11.     On or about the date set forth below, in Palm Beach County, in the Southern District

   of Florida, and elsewhere, the defendant,

                                       KASALI OPABO LA, JR.,

   a resident of Palm Beach County, did willfully make and subscribe a United States Income Tax

   Return Form 1040 for the calendar year identified in each count below, which was verified by a

   written declaration that it was made under the penalties of perjury, and filed with the IRS, which

   tax return Defendant KASAL! OPABO LA, JR. did not believe to be true and correct as to every

   material matter, in that the tax return falsely underreported the total income to Defendant KASALI

   OPABOLA, JR. and falsely underreported gross receipts for FTP, whereas Defendant KASAL!

   OPABO LA, JR. then and there knew that the total income and the Schedule C gross receipts for

   FTP were substantially greater than the reported amount, as follows:

    COUNT         Approximate Date       Calendar           Form 1040 False         Schedule C False
                    Return Filed          Year             Material Matters        Material Matters
        1          April 14, 2015         2014            Line 22 total income   Line 1 gross receipts
                                                          of $9,957              of $94,318
       2            June 6, 2016           2015           Line 22 total income   Line 1 gross receipts
                                                          of $11,183             of $124,462

  In violation of Title 26, United States Code, Section 7206(1).




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                                                           COUNT3
                                              Failure to File Income Tax Return
                                                       (26 USC § 7203)

                       12.    The general allegations contained in paragraphs 1 through 9 are realleged and

               reincorporated as though fully set forth herein.

                      13.     During calendar year 2016, Defendant KASAL! OPABOLA, JR. who was a

               resident of Palm Beach County, Florida, had and received gross income in excess of $13,350 and

               net earnings from self-employment of at least $400; that by reason of such gross income and net

               earnings from self-employment Defendant KASALI OPABOLA, JR. was required by law,

               following the close of the calendar year 20 16, and on or before October 15, 2017, to make an

               income tax return to any proper officer of the Internal Revenue Service, stating specifically the

               items of his gross income and any deductions and credits to which he was entitled; that well-

               knowing and believing all of the foregoing, Defendant KASALI OPABO LA, JR. did willfully

               fail to make an income tax return on or before October 15, 2017.

                      All in violation of Title 26, United States Code, Section 7203.

                                                                      A TRl TR RTT .r.,_


                                                                      FORE.BERSON



              ARIA      FAJARDO ORSHAN
              UNITED STATES ATTORNEY




              ASSISTANT UNITED STATES ATTORNEY




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                                                       UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF FLORIDA

 UNITED ST ATES OF AMERICA                                         CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ __
    v.
KASALI OPABOLA, JR.,
                                                                   CERTIFICATE OF TRIAL ATTORNEY*

                                                                   Superseding Case Information:
                                       Defendant.

Court Division: (select One)                                       New defendant(s)           Yes   No
_      Miami _              Key West                               Number of new defendants
     .   FTL         ,           WPB                FrP            Total number cif counts

         1.         I have carefully considered the aJlegations of the indictment, the number of defendants, the number of
                    probable witnesses and the legal complexities of the Indictment/Information att.achedhereto.
         2.         I am aware that the information supplied on this statement will be relied upon by the Judges of this
                    Court in setting their cakndars and scheduling criminal trials under the mandate of the Speedy Trial
                    Act, Title28 U.S.C. Section 3161.
         3.         Interpreter:    (Yes or No)               No
                    List language and/or 4ialect
         4.         This case will take _3_ days for the parties to tty.
         5.         Please check appropriate category and type of offense listed below:

                    (Check only one)                                      (Check only one)

                                                          ✓
         I          Oto 5 days                                            Petty
         II         6 to IO days                                          Minor
         III        11 to 20 days                                         Misdem.
         JV         21 to 60 days                                         Felony              ✓

         V          61 days and over
         6.       Has this case previously been filed in this District Court?     (Yes or No) No
          Ifyes:Judge                                       Case No.
          (Attach copy of dispositive order)                           ---N--,-o__________
          Has a complaint been filed in this matter?        (Yes or No)
          If yes: Magistrate Case No.
          Related miscellaneous numbers:
          Defendant(s) in federal custody as of
          Defendant(s) in state custody as of
          Rule 20 from.the Distrkt of
             Is this a potential death penalty case? (Yes or No)

         1.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    prior to August 9,2013 (Mag. Judge Alicia 0. Valle)?            Yes              No-  ✓-

         8,         Does this _c~e originate from a matter pending in the Northern Region U.S. Attorney's Office
                    prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes




 *,Penalty Sheet(s) attached                                                                                 REV 8/13/2018
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     PENAL TY SHEET

Defendant's Name: Kasali Opabola, Jr.

Case No:

Counts #: 1 - 2

 Filing a false individual income tax return

Title 26 U.S.C. § 7206(1)

* Max. Penalty: 3 years' imprisonment, $250,000 fine, I year term of supervised release

Count#: 3

Failure to file an individual income tax return

Title 26 U.S.C. § 7203

*Max. Penalty: 1 year imprisonment, $100,000 fine, I year term of supervised release

Count#:




*Max. Penalty:




*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms or forfeitures that may be applicable
